Case 1:14-cr-00072-PLM           ECF No. 186, PageID.1061             Filed 10/30/14      Page 1 of 2




                               UNITED STATES OF AMERICA
                             UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION




UNITED STATES OF AMERICA,           )
                                    )
            Plaintiff,              )                   Case No. 1:14-cr-00072-PLM-7
                                    )
v.                                  )                  Honorable Paul L. Maloney
                                    )
GREGORY A. KULDANEK,                )
                                    )
            Defendant.              )
____________________________________)


                              REPORT AND RECOMMENDATION

                Pursuant to W.D. MICH. L.CR.R. 11.1, I conducted a plea hearing in the above-

captioned case on October 30, 2014, after receiving the written consent of defendant and all counsel.

At the hearing, defendant Gregory A. Kuldanek entered a plea of guilty to the Amended Superseding

Information in exchange for the undertakings made by the government in the written plea agreement.

In the Amended Superseding Information defendant is charged with conspiracy to manufacture and

to possess with intent to distribute less than fifty marijuana plants in violation of 21 U.S.C. Sections

846, 841(a), and 841(b)(1)(D). On the basis of the record made at the hearing, I find that defendant

is fully capable and competent to enter an informed plea; that the plea is made knowingly and with

full understanding of each of the rights waived by defendant; that it is made voluntarily and free

from any force, threats, or promises, apart from the promises in the plea agreement; that the

defendant understands the nature of the charge and penalties provided by law; and that the plea has

a sufficient basis in fact.
Case 1:14-cr-00072-PLM            ECF No. 186, PageID.1062          Filed 10/30/14      Page 2 of 2




               Accordingly, I recommend that defendant's plea of guilty to the Amended

Superseding Information be accepted, that the court adjudicate defendant guilty, and that the written

plea agreement be considered for acceptance at the time of sentencing. Acceptance of the plea,

adjudication of guilt, acceptance of the plea agreement, and imposition of sentence are specifically

reserved to the district judge.



Date: October 30, 2014                                 /s/ Phillip J. Green
                                                      PHILLIP J. GREEN
                                                      United States Magistrate Judge




                                     NOTICE TO PARTIES

                You have the right to review of the foregoing findings by the district judge. Any
application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than 14 days after the filing of this Report
and Recommendation.




                                                -2-
